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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


  UNITED STATES OF AMERICA,
                                                           Case No. 06-20465
           Plaintiff,
                                                           Honorable Nancy G. Edmunds
  v.

  D-01 AREF NAGI, et al.,

           Defendants.
                                            /


      OPINION ADDRESSING RELEVANT CONDUCT FOR THE PURPOSE OF
  CALCULATING BASE OFFENSE LEVEL FOR DEFENDANT NAGI’S COUNT 2 RICO
                      CONSPIRACY CONVICTION


       This matter comes before the Court after an extensive jury trial that began on April 1,

  2010 and concluded with guilty verdicts on June 3, 2010. Defendants Nagi, Cicchetti, Ball

  Jr., Leonard “Dad” Moore, Joseph Whiting, and Anthony Clark, along with numerous other

  individuals, were charged in a second superseding indictment with violating federal

  racketeering laws and other federal laws involving violent acts, firearms, controlled

  substances, and stolen property.       Each of these above-named Defendants held a

  leadership position in the Highwaymen Motorcycle Club (“HMC”). As to Defendant Nagi,

  the jury returned the following guilty verdicts:

       D-01 Aref “Steve” Nagi
       Ct. 1 - 18 U.S.C. § 1962(c)              Racketeer Influenced and Corrupt Organization
                                                (“RICO”) - Conducting or Participating in affairs
                                                of an Enterprise through a Pattern of Racketeering
                                                Activity
       Ct. 2 -     18 U.S.C. § 1962(d)          Conspiracy to violate RICO
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       Ct. 7 -    18 U.S.C. § 1959(a)(3)    Assault with a dangerous weapon in aid of
                                            Racketeering (“Wheat & Rye”)
       Ct. 15 -   18 U.S.C. § 2312          Conspiracy to transport stolen vehicles in
                                            Interstate Commerce (“Myrtle Beach”)
       Ct. 16 -   18 U.S.C. §§ 511, 371     Conspiracy to alter, remove, and obliterate
                                            Vehicle Identification Numbers
                                            (“Walkabout Cycle”)
       Ct. 19 -   21 U.S.C. § 846           Conspiracy to Possess with intent to distribute
                                            and Distribution of Controlled Substances
       Ct. 31 -   18 U.S.C. § 924(c)        Use of Firearm during and in relation to crime
                                            of violence (“Wheat & Rye”)

       The Court now considers an issue raised in Defendant Nagi’s Sentencing

  Memorandum [1701] – how to calculate the base offense level for Defendant Nagi’s Count

  2 RICO conspiracy conviction. Specifically, what Racketeering Acts identified in Count 1

  – the substantive RICO Count – constitute relevant conduct as defined in the United States

  Sentencing Commission, Guidelines Manual, § 1B1.3(a)(1)(A) & (B) (Nov. 2010), and thus

  should be attributed to Defendant Nagi for the purpose of calculating the base offense level

  for his Count 2 RICO conspiracy conviction.

  I.   Background

       A. Indictment and Jury Verdict

       The specific Racketeering Acts (“R.A.”) identified in Count 1 were as follows:

       R.A. 1     -    Ruben Guzman         9/10/03 Armed Robbery & Attempted Murder
       R.A. 2     -    Gerald Deese         Conspiracy to Commit Murder

       R.A. 3     -    Anthony Barton       Extortion
       R.A. 4     -    Steve Peet           Armed Robbery
       R.A. 5     -    Black Pistons        3/04 Conspiracy to Commit Arson
       R.A. 6     -    Black Pistons        3/27/04 Conspiracy to Commit Murder
       R.A. 7     -    Liberty Ridders      02/06 Robbery
       R.A. 8     -    Myrtle Beach         Transporting & Receiving Stolen Vehicles
       R.A. 9     -    Burton/Peters        Conspiracy to Distribute Cocaine
       R.A. 10    -    Bo Moore             Conspiracy to Distribute Steroids
       R.A. 11    -    Nagi/Ball Jr.        Conspiracy to Distribute Controlled Substances
       R.A. 12    -    Dougie Burnett       Conspiracy to Commit Murder

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       R.A. 13      -   Phil McDonald        Conspiracy to Commit Murder

       The Jury Verdict form, under Count 1 – the substantive RICO count – , provided the

  following with regard to Defendant Nagi:

       Count One

       Not Guilty       _____

       Guilty           _____

       Racketeering Act Eight

       Not Proven       _____

       Proven           _____

       Racketeering Act Eleven

       Not Proven       _____

       Proven           _____

  The jury found, beyond a reasonable doubt, that Defendant Nagi was guilty on Count 1 and

  also found that Racketeering Acts 8 and 11 had been proven.

       The Jury Verdict form, under Count 2 – the RICO conspiracy count – , is not as

  specific. Under Defendant Nagi’s name, it provides solely for a verdict of either Not Guilty

  or Guilty.

       B. Stipulations Between Defendant Nagi and Government Re: Sentencing

       At the initial sentencing hearing held on January 11, 2011, the Government and

  Defendant Nagi agreed to the following matters affecting the issue presented here:

       1. Nagi’s involvement in the RICO conspiracy was from June 2004 through October

  3, 2006.

       2. Because Nagi did not join the enterprise until June 2004, he should not be held

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  accountable for any acts committed earlier than that date (Govt’s Sentencing Mem. at 8,

  n.2). This includes:

        R.A. 1     -     Ruben Guzman       9/10/03 Armed Robbery & Attempted Murder
        R.A. 5     -     Black Pistons      3/04 Conspiracy to Commit Arson
        R.A. 6     -     Black Pistons      3/27/04 Conspiracy to Commit Murder

        3. R.A. 7 (the Liberty Riders assault) and R.A. 13 (the Phil McDonald murder

  conspiracy) should not be taken into account at Nagi’s sentencing (Govt’s Sentencing

  Mem. at 4). This applies to both Counts 1 and 2 – the substantive RICO count and the

  RICO conspiracy count, respectively.

  II.   Analysis

        In light of the above stipulations, the following eight Racketeering Acts remain to be

  evaluated under USSG § 1B1.3(a)(1)(A) & (B):

        R.A. 2     -     Gerald Deese       Conspiracy to Commit Murder
        R.A. 3     -     Anthony Barton     Extortion
        R.A. 4     -     Steve Peet         Armed Robbery
        R.A. 8     -     Myrtle Beach       Transporting & Receiving Stolen Vehicles
        R.A. 9     -     Burton/Peters      Conspiracy to Distribute Cocaine
        R.A. 10    -     Bo Moore           Conspiracy to Distribute Steroids
        R.A. 11    -     Nagi/Ball Jr.      Conspiracy to Distribute Controlled Substances
        R.A. 12    -     Dougie Burnett     Conspiracy to Commit Murder

        USSG § 1B1.3(a)(1)(A) & (B) provide as follows:

        (1) (A)    all acts and omissions committed, aided, abetted,
                   counseled, commanded, induced, procured, or willfully
                   caused by the defendant; and

           (B)     in the case of a jointly undertaken criminal activity (a
                   criminal plan, scheme, endeavor, or enterprise undertaken
                   by the defendant in concert with others, whether or not
                   charged as a conspiracy), all reasonably foreseeable acts
                   and omissions of others in furtherance of the jointly
                   undertaken criminal activity,

           that occurred during the commission of the offense of conviction, in

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           preparation for that offense, or in the course of attempting to avoid
           detection or responsibility for that offense;

  USSG § 1B1.3(a)(1)(A) & (B).

       It is not disputed that the appropriate base offense level for Nagi’s Count 2 RICO

  conspiracy conviction should be determined by referencing USSG § 2E1.1, which provides

  that the base offense level is the greater of 19 or “the offense level applicable to the

  underlying racketeering activity.” Two issues are in dispute: (1) the burden of proof

  required to prove the existence of relevant conduct under USSG § 1B1.3; and (2) whether

  Racketeering Acts 2, 3, 4, 8, 9, 10, 11, and 12 constitute relevant conduct for the purpose

  of calculating the base offense level for Defendant Nagi’s Count 2 RICO conspiracy

  conviction.

       A. Burden of Proof

       As in United States v. Corrado, 227 F.3d 528, 541 (6th Cir. 2000), Defendant Nagi and

  the Government “dispute the burden of proof that the government bears in establishing an

  underlying offense that was not specified in a jury’s verdict in order for that conduct to be

  used to calculate the defendant’s base offense level” for sentencing on a RICO conspiracy

  conviction. In Corrado, the Sixth Circuit rejected the same USSG § 1B1.2 multi-object

  conspiracy Guidelines argument that Defendant Nagi makes here – “that the government

  is required to prove the existence of an underlying offense beyond a reasonable doubt.”

  Id. After distinguishing RICO conspiracies from multi-object conspiracies, the Corrado

  court held that “[t]he existence of relevant conduct is determined at sentencing by a

  preponderance of the evidence.” Id. at 542. It reasoned as follows:

          The defendants in this case were convicted of a RICO conspiracy, however,
       not a multi-object conspiracy. There is a critical distinction between the two.

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       The multi-object conspiracy section of the Sentencing Guidelines was enacted
       to deal with multiple object conspiracies charged in a single count. By contrast,
       a RICO conspiracy is considered a single object conspiracy with that object
       being the violation of RICO.

            Thus, the underlying acts of racketeering in a RICO conspiracy are not
       considered to be the objects of the conspiracy, but simply conduct that is
       relevant to the central objective – participating in a criminal enterprise. The
       existence of relevant conduct is determined at sentencing by a preponderance
       of the evidence.

  Id. at 541-42 (internal quotation marks and citations omitted).

       The same reasoning applies here. Defendant Nagi’s burden of proof argument is

  rejected. The existence of relevant conduct for calculating a base offense level for

  Defendant Nagi’s Count 2 RICO conspiracy conviction is determined at sentencing by a

  preponderance of the evidence. Id.

       B. Determination of Relevant Conduct Under USSG § 1B1.3(a)(1)(A) & (B)

       “Relevant conduct includes, in pertinent part: (1) ‘all acts or omissions’ that the

  defendant ‘committed, aided, abetted, counseled, commanded, induced, procured, or

  willfully caused’; and (2) ‘all reasonably foreseeable acts and omissions of others in

  furtherance of the jointly undertaken criminal activity,’ that occurred during, in preparation

  for, or in the course of attempting to avoid detection or responsibility for the RICO

  conspiracy.” United States v. Tocco, 306 F.3d 279, 286 (6th Cir. 2002) (quoting USSG §

  1B1.3(a)(1)(A) & (B)).

       C. Nagi Conduct - Racketeering Acts 8 and 11

       When convicting Defendant Nagi on Count 1, the substantive RICO count, the jury

  found, beyond a reasonable doubt, that Nagi agreed to commit Racketeering Acts 8 and

  11 – Transporting & Receiving Stolen Vehicles (Myrtle Beach) and Conspiracy to Distribute


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  Controlled Substances ((Nagi/Ball Jr.), respectively. As the Sixth Circuit observed in United

  States v. Corrado, 304 F.3d 593, 608 (6th Cir. 2002), “RICO predicate acts . . . for which

  a defendant is convicted necessarily constitute relevant conduct for the purpose of

  calculating the defendant’s base offense level for a RICO conspiracy conviction.”

       D. Conduct of Others - Racketeering Acts 2, 3, 4, 9, 10 and 12

       As to a defendant’s accountability for the acts of others under USSG § 1B1.3(a)(1)(B),

  the Sixth Circuit requires that a district court “make two particularized findings: (1) that the

  acts were within the scope of the defendant’s agreement; and (2) that they were

  foreseeable to the defendant.” Tocco, 306 F.3d at 289 (internal quotation marks and

  citations omitted). Moreover, “to determine the scope of the defendant’s agreement, the

  district court may consider any explicit agreement or implicit agreement fairly inferred from

  the conduct of the defendant and others. The fact that the defendant is aware of the scope

  of the overall operation is not enough to satisfy the first prong of the test and therefore, is

  not enough to hold him accountable for the activities of the whole operation.” Id. (internal

  quotation marks and citations omitted).

       E. Particularized Findings

       In making its relevant conduct determination, the Court relies on the trial testimony,

  the exhibits introduced at trial, including the numerous wire-tapped conversations involving

  Defendant Nagi, and the Court’s Opinion and Order denying Defendants’ Rule 29 and Rule

  33 motions [Doc. No. 1584]. In that Opinion and Order, the Court laid out the evidence

  describing the HMC’s hierarchal organizational structure and the roles of each Defendant,

  including Defendant Nagi’s membership on the committee that oversaw the activities of,

  and made decisions for, the HMC. There was evidence at trial that Defendant Nagi was

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  the vice president of the West Side Chapter at a time when Bobby Burton was the

  president. After the West Side Chapter closed, Nagi became a member of the Detroit

  Chapter.

       As evident from the numerous wire-tapped conversations, Defendant Nagi held a

  leadership role in the HMC. While involved in the RICO conspiracy, Nagi was running a

  very substantial drug ring. He was moving all kinds of marijuana and other illegal drugs.

  He was involved in the theft of motorcycles, and he was out there in front on virtually every

  incident that occurred in the two-year period when he was actively involved with the RICO

  conspiracy.

       In the Rule 29/33 Opinion and Order, this Court determined that there was ample

  evidence at trial of the RICO enterprise’s criminal activity. This included acts of violence

  like assault, conspiracy to commit murder, and armed robbery. It also included theft, drug

  trafficking, and weapons offenses. These acts of violence arose from constant conflict with

  rival biker clubs. They also arose out of the leadership’s efforts to enforce HMC’s authority

  over a territory and its own members by directing attacks on persons perceived to have

  disrespected a fellow member in some manner, those perceived to have squealed, and

  those suspected of being snitches. Members enhanced and protected their reputation and

  standing as Highwaymen by using intimidation, threats, violent acts, and possession of

  weapons while carrying out acts of discipline, punishment, intimidation, and retaliation.

  Witness testimony and wire-tapped conversations, including those involving Defendant

  Nagi, showed that members of the HMC traveled in large groups and went to bars in large

  numbers so as to intimidate others and invoke fear of retaliation. HMC members were

  expected to protect each other. Failure to do so would result in punishment. Numerous

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  witnesses testified that, because of their reputation for violence and fear of retaliation, HMC

  members were more likely to get away with a crime of violence. They also used this

  reputation of violence to intimidate potential witnesses from facilitating the prosecution of

  members’ criminal activity. The evidence in general and especially the wire-tapped

  conversations support a finding that Defendant Nagi was aware of and actively cultivated

  this fear of retaliation.

       The evidence at trial also showed that members of the RICO enterprise, including

  Defendant Nagi, freely discussed, distributed, and shared controlled substances with other

  members. Members also used their reputations for violence, intimidation, and retaliation

  to collect drug debts for other members. The leadership of the RICO enterprise never

  objected to this criminal activity. Members of the RICO enterprise, including Defendant

  Nagi, also transported, received and/or possessed stolen property. There was ample

  evidence that HMC members used this criminal activity as a source of income. There was

  evidence at trial that at least one member, Doug Burnett, used some of his drug sales

  profits to pay his HMC dues.

       1. Racketeering Act 2 - Conspiracy to Murder Gerald Deese

       Although this incident with Gerald Deese involved Bobby Burton and others, it did

  occur while Defendant Nagi was actively involved in the RICO enterprise. Nagi elected to

  join the West Side Chapter of the HMC under the leadership of Bobby Burton and served

  as Burton’s vice president. This incident occurred in January 2006 when Burton was

  president of the West Side Chapter and Nagi was his vice president. At no time did Nagi

  or anyone else in a leadership position discourage Burton’s violent tendencies. In fact, this

  act of discipline, punishment, and intimidation was consistent with similar conduct on the

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  part of the members of the RICO enterprise. Moreover, immediately after Bobby Burton

  assaulted Gerald Deese, the first person he called was Defendant Nagi. He made two

  additional calls to Nagi after the Deese incident. Accordingly, considering the evidence of

  Defendant Nagi’s conduct and that of others, this Court finds that R.A. 2 was within the

  scope of Defendant Nagi’s agreement to participate in the criminal activity of the RICO

  enterprise. The Court also finds that, because it was common to use violence as a form

  of discipline and punishment for doing wrong to a fellow HMC member, this act of violence

  was reasonably foreseeable to Defendant Nagi. This finding is consistent with Nagi’s

  conviction on Count 7 for assault with a dangerous weapon in aid of racketeering (Wheat

  & Rye). Based on these findings, R.A. 2 constitutes relevant conduct for purposes of

  calculating Defendant Nagi’s base offense level for his Count 2 RICO conspiracy

  conviction.

       2. Racketeering Act 3 - Anthony Barton - Extortion

       This February 2006 racketeering act occurred while Defendant Nagi was actively

  involved in the activities of the RICO enterprise. Evidence at trial showed that HMC

  member Anthony Barton was supposed to be selling stolen televisions for other HMC

  members, but they thought he had pocketed the money instead. He also owed the HMC

  money for back dues and fines. Another HMC member told Barton that he would not be

  beaten – a common HMC form of discipline – if he paid him $1,700. After Barton paid the

  money, a HMC member threatened to shoot Barton if he did not show up at the next HMC

  meeting.

       There was testimony at trial that members of the RICO enterprise took part in,

  approved of, and received the benefit of stolen goods. This illegal activity served as a

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  source of income for some HMC members. When Defendant Nagi was convicted on Count

  1, the substantive RICO count, the jury found, beyond a reasonable doubt, that he was

  involved in the transport and receipt of stolen motorcycles from Myrtle Beach. The

  evidence at trial also established that if one HMC member was suspected of cheating

  another out of profits from their joint criminal activity, threats of violence and intimidation

  were typically used to discipline the errant member. From this evidence and evidence of

  Defendant Nagi’s conduct and that of others, this Court finds that the conduct in R.A. 3 was

  within the scope of Nagi’s agreement to participate in the criminal activity of the RICO

  enterprise. Moreover, the Court finds that the use of threats of violence to intimidate and

  extort the payment of money thought to be owed to another member was reasonably

  foreseeable to Defendant Nagi. Based on these findings, this extortion constitutes relevant

  conduct for purposes of calculating Defendant Nagi’s base offense level for his Count 2

  RICO conspiracy conviction.

       3. Racketeering Act 4 - Steve Peet - Armed Robbery

       This June 2006 racketeering act also occurred while Defendant Nagi was actively

  involved in the activities of the RICO enterprise. Trial evidence showed that the armed

  robbery of Steve Peet involved the collection of a drug debt owed by Peet for the purchase

  of a quantity of cocaine. Based on evidence that HMC members used their reputations for

  violence to collect drug debts as well as evidence of Defendant Nagi’s conduct and that of

  others, the Court finds that the armed robbery of Steve Peet was an act within the scope

  of Defendant Nagi’s agreement to participate in the criminal activity of the RICO enterprise.

  The Court also finds that this act of violence was reasonably foreseeable to Defendant

  Nagi. Members of the RICO enterprise frequently engaged in acts of violence, and it was

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  reasonable for Nagi to foresee that violence would be used to intimidate and discipline an

  HMC member who owed another member money on a drug debt. Based on these findings,

  this armed robbery constitutes relevant conduct for purposes of calculating Defendant

  Nagi’s base offense level on his Count 2 RICO conspiracy conviction.

       4. Racketeering Acts 9 and 10 - Cocaine and Steroid Drug Conspiracies

       As the Court observed in its Opinion and Order on Defendants’ Rule 29/33 motions,

  evidence at trial showed that the drug trafficking activity in Racketeering 9 (evidence

  regarding the Robert Burton drug conspiracy), Racketeering Act 10 (evidence regarding

  the steroid drug conspiracy), and Racketeering Act 11 (evidence regarding the Nagi drug

  conspiracy) was related to and an integral part of the RICO enterprise and its activities. For

  example, ample trial evidence exists showing that members of the HMC sold to or

  distributed/shared drugs with other members. The record is replete with testimony about

  HMC members sharing cocaine with Defendants. There is abundant evidence that the

  HMC condoned drug trafficking and drug use despite language to the contrary in its

  constitution. It was a common occurrence to have drug deals and drug use at the HMC

  clubhouse. The HMC leadership did not stop this criminal activity. The opposite is true.

  Witnesses testified that leadership members, including Nagi, shared the cocaine that was

  provided by others who dealt drugs at the clubhouse. There was evidence that HMC

  leaders used other HMC members for protection, to distribute product, to collect drug

  debts, and to assault people who “stiffed” them on drug deals. There was ample evidence

  that officers, members, and associates of the HMC used HMC clubhouses to facilitate the

  sale and distribution of controlled substances. Based on the above-cited evidence and

  evidence of Nagi’s conduct and that of others, this Court finds that the drug conspiracies

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  in R.A. 9 and 10 were within the scope of Defendant Nagi’s agreement to participate in the

  criminal activity of the RICO enterprise. Based on this same evidence, the Court finds that

  the drug conspiracy conduct in R.A. 9 and 10 was reasonably foreseeable to Defendant

  Nagi. Based on these findings, these drug conspiracies constitute relevant conduct for

  purposes of calculating Defendant Nagi’s base offense level for his Count 2 RICO

  conspiracy conviction.

       5. Racketeering Act 12 - Conspiracy to Commit Murder Doug Burnett

       The RICO enterprise’s concern and desire to punish snitches was well established at

  trial. There are wire-tapped conversations, including one between Defendant Nagi and Jeff

  Olko that discusses the need to find the snitch. There is a lot of evidence that HMC

  members suspected that Doug Burnett was the snitch, that he had tipped off law

  enforcement and triggered searches of the HMC Clubhouse and members’ homes.

  Multiple witnesses testified that, during the summer of 2006, there was a lot of talk at the

  Detroit Chapter Clubhouse about discovering and punishing the snitch or rat. Doug

  Burnett’s picture was hanging behind the bar at the Detroit Chapter Clubhouse with “rat”

  written across it. There is ample evidence that the RICO enterprise operated by disciplining

  members and used intimidation and threats as well as acts of violence to stop HMC

  members and others from telling law enforcement about the enterprise’s criminal activities.

  It was well known that snitches were not tolerated and would be violently punished.

       Based on the above and evidence of Defendant Nagi’s conduct and that of others, this

  Court finds that the conspiracy to murder a suspected snitch like Doug Burnett was an act

  within the scope of Defendant Nagi’s agreement to participate in the criminal activity of the

  RICO enterprise. Because there was ample evidence at trial that members of the RICO

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  enterprise used both threats and acts of violence to discipline, intimidate, and punish those

  suspected of reporting criminal activity to law enforcement officials, the Court also finds that

  this particular act of violence was reasonably foreseeable to Defendant Nagi. Based on

  these findings, the conspiracy to murder Doug Burnett constitutes relevant conduct for

  purposes of calculating Defendant Nagi’s base offense level on his Count 2 RICO

  conspiracy conviction.

       SO ORDERED.



                  s/Nancy G. Edmunds
                  Nancy G. Edmunds
                  United States District Judge

  Dated: January 14, 2011

  I hereby certify that a copy of the foregoing document was served upon counsel of record
  on January 14, 2011, by electronic and/or ordinary mail.

                  s/Carol A. Hemeyer
                  Case Manager




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